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                IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION

TAMRELL E. HAYES,

              Plaintiff,
                                               Case No.:
     vs.
                                               JURY TRIAL DEMANDED
HOUSTON COUNTY SCHOOL
DISTRICT, GEORGIA

              Defendant



                              COMPLAINT FOR DAMAGES

       NOW COMES PLAINTIFF, TAMRELL E. HAYES, by and through undersigned

counsel, and brings this Complaint for Damages, showing this Court the following:

                                              1.

       This is an action brought under 42 U.S.C. §§12101 et seq. and 42 U.S.C.

§1981a, and The Rehabilitation Act of 1973, 29 U.S.C. § 791 et seq.

                                              2.

       Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 (federal

question) and 28 U.S.C. § 1343 (civil rights).

                                              3.

       Pursuant to 28 U.S.C. § 1391(b), this Court is the proper venue for Plaintiff’s

claims because Defendant resides in the Middle District of Georgia, Macon Division,

and because the unlawful conduct giving rise to the claims occurred in the referenced

Division of the Middle District of Georgia.




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                                             4.

       Plaintiff Tamrell E. Hayes is a citizen of the United States and is authorized to

bring this action pursuant to 42 U.S.C. § 12117(a) and 42 U.S.C. § 20000e-5(f).

                                             5.

       Defendant HOUSTON COUNTY SCHOOL DISTRICT, (hereinafter “Defendant

School District”) is located in Perry, Houston County, Georgia, and is a body corporate

with the capacity to sue and be sued and is charged with the direction and control of the

education of the children in the Houston County School District. Defendant School

District may be served by serving its Superintendent, Nehemiah Cummings, at 1100

Main Street, Perry, Georgia 31069. The Houston County School District is under the

management and control the Worth County Board of Education. Ga. Const. Art. VIII, §

V, Para. II.

                                             6.

       Defendant School District is an employer as defined in 42 U.S.C. 12111(5).

                                             7.

       Plaintiff was employed by Defendant School District, beginning in September of

2008 through the date of her termination in November of 2019. As an employee of

Defendant School District, Plaintiff worked for a program or activity that received federal

financial assistance.

                                             8.

       Defendant School District is a covered employer under the Americans with

Disabilities Act, 42 U.S.C. §§12101 et seq. (the ADA).




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                                               9.

       Plaintiff was a qualified individual with a disability under Sections 3 and 101(8) of

the ADA, 42 U.S.C. §§ 12102 and 12111(8).

                                             10.

       Plaintiff timely filed a charge of discrimination with the United States Equal

Employment Opportunity Commission (“EEOC”) which encompassed all of the claims

asserted in the above-captioned Complaint, and of which Defendant is aware.

                                             11.

       Plaintiff brings this suit within 90 days of receipt or knowledge of the issuance of

her Notice of Right to Sue, fulfilling any and all of his administrative requirements prior

to bringing this suit.

                                             12.

       In September of 2018, Plaintiff requested a reasonable accommodation.

                                             13.

       Defendant refused Plaintiff’s request for a reasonable accommodation and

instead forced Plaintiff to take FMLA leave.

                                             14.

       Defendant refused to allow Plaintiff to return to work so long as she requested

her reasonable accommodation.

                                             15.

       Defendant failed to engage in the interactive reasonable accommodation process

with Plaintiff, in violation of the ADA.




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                                             16.

       Defendant terminated Plaintiff’s employment in October of 2019. Defendant

discriminated against Plaintiff on the basis of her disability when it terminated Plaintiff’s

employment.

                                             17.

       On December 6, 2019, the EEOC issued a Letter of Determination, and making

the following findings:

              “Respondent is an employer withing the meaning of Title I of the

       Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101, et seq.

       (ADA). Timeliness and all other jurisdictional requirements for coverage have

       been met.

              Charging Party alleges she [was] discriminated against because of her

       disability and retaliated against for opposing employment practices in violation of

       the ADA.

              Respondent denies the allegations.

              The evidence revealed that Respondent subjected Charging Party to

       discrimination on the basis of her disability when it denied her request for

       reasonable accommodation. There is no evidence in the record that Respondent

       engaged in the interactive process to identify a reasonable accommodation nor

       that Respondent has demonstrated that providing Charging Party an

       accommodation would have resulted in an undue hardship on its operations.

              The evidence further revealed that there was a temporal proximity

       between Charing Party’s protected activity and the subsequent adverse action.




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       Respondent’s proffered reason for discharging Charging Party cannot withstand

       scrutiny and is a pretext for discrimination.

                Based upon the evidence and the record as a whole, there is reasonable

       cause to conclude Charging Party was discriminated against because of her

       disability and discharged in retaliation for opposing unlawful employment

       practices in violation of the ADA.”

                                              18.

       All administrative prerequisites for filing suit on Plaintiff’s ADA claim have been

satisfied.

                                              19.

       The effect of the practice(s) complained of above has been to deprive Plaintiff of

equal employment opportunities and, otherwise, adversely affect her status as an

employee because of her disability.

                                              20.

       The unlawful employment practices complained of above were intentional.

                                              21.

       The unlawful employment practices complained of above were done with malice

or with reckless indifference to the federally protected rights of Plaintiff.

                                      COUNT I
                          DISABILITY DISCRIMINATION - ADA

                                              22.

       Paragraphs 1 through 21 are re-alleged and incorporated herein by reference.

                                              23.

       Defendant School District discriminated against Plaintiff because she was a



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qualified individual with a disability.

                                            24.

       The above-pled conduct of Defendant constitutes disability discrimination in

violation of 42 U.S.C. § 12112(a).

                                            25.

       Pursuant to the ADA, Plaintiff is entitled to damages, including back pay and lost

benefits, front pay, compensatory damages, and attorneys’ fees and costs of litigation,

as well as all other relief recoverable under the ADA.

                                    COUNT II
                DISABILITY DISCRIMINATION - REHABILITATION ACT

                                            26.

       Paragraphs 1 through 25 are re-alleged and incorporated herein by reference.

                                            27.

       At all relevant times while Plaintiff was employed with Defendant School, she

was disabled within the meaning of The Rehabilitation Act of 1973.

                                            28.

       At all relevant times while Plaintiff was employed with Defendant School District,

she was otherwise qualified for her position.

                                            29.

       Defendant School District discriminated against Plaintiff because of her disability

in violation of The Rehabilitation Act of 1973 and retaliated against Plaintiff for engaging

in activity protected by The Rehabilitation Act of 1973.




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                                        COUNT III
                                       RETALIATION

                                              30.

       Paragraphs 1 through 29 are re-alleged and incorporated herein by reference.

                                              31.

       Plaintiff was a qualified individual with a disability.

                                              29.

       Plaintiff requested a reasonable accommodation from Defendant School District.

                                              30.

       Defendant retaliated against Plaintiff’ for her engaging in activity protected by the

ADA and The Rehabilitation Act of 1973.

                                              31.

       Plaintiff is entitled to damages, including back pay and lost benefits, front pay,

compensatory damages, including emotional pain and suffering, anxiety, stress,

depression, humiliation, and attorneys’ fees and costs of litigation, as well as all other

relief recoverable.

       WHEREFORE, Plaintiff prays this Court grant him the following relief:

       (a)    Award Plaintiff appropriate back pay with prejudgment interest, in an

              amount to be determined at trial;

       (b)    Award Plaintiff front pay and/or reinstatement, and any other affirmative

              relief necessary to eradicate the effects of Defendant’s unlawful

              employment practices;

       (c)    Award Plaintiff compensatory damages in an amount to be determined by

              the enlightened conscience of the jury to compensate Plaintiff for the



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      mental and emotional distress, and other losses she has suffered as a

      result of Defendant’s discriminatory and retaliatory conduct

(d)   Award Plaintiff her attorney’s fees and costs; and

(e)   Award Plaintiff such other and further legal and equitable relief as the

      Court may deem appropriate.

PLAINTIFF DEMANDS TRIAL BY JURY OF ALL ISSUES SO TRIABLE.

This September 1, 2021.



                                  /s Charles E. Cox, Jr.
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